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UNITED STATES DISTRICT COURT FOR T "FILE ——
SOUTHERN DISTRICT OF WEST VIRGINI cep 22 202I
BECKLEY GRAND JURY 2021 vor é&ecen
SEPTEMBER 22, 2021 SESSION po
UNITED STATES OF AMERICA
egy a" : , 3 CRIMINAL NO. A. Biz Cr- D0lb0

 

18 U.S.C. § 1349
18 U.S.C. § 1343

dg ga 18 U.S.C. § 2314...
_ JULIO HISAEL ALMONTE ~ oo

. INDICTMENT

af The Grand Jury Charges:

‘COUNT ONE |
_ Conspinasy to Commit Wire an.

Introduction
At all times nes relevant to this Indictment:
he TULIO HISAEL ALMONTE was.a , resident of the State of New York.
a. Todd J udy Ford was a dealer of new and wtaed automobiles i in Charleston, Kanawha
mann West Virginia. ;
3. Bert Wolfe Toyota wi was a dealer of new and used automobiles in Charleston,
Kanawha County, West Virginia.
4, RouteOne LLC (“RouteOne”) was a firm engaged in the business of credit
ageregation and electronic contracting services to automotive dealerships and financial
institutions. During the month of June 2018, RouteOne’s production servers were physically

located in Plano, Texas.
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The Conspiracy and Scheme and Artifice to Defraud

5. In or about June 2018, at or near Charleston, Kanawha County, West Virginia,
within the Southern District of West Virginia, and elsewhere, defendant JULIO HISAEL
_ALMONTE and another person referred to by defendant as “O”, whose true identity is unknown
6 the Grand Jury (hereinafter «O”), knowingly and willfully conspired together and with other
dnsabiid both known and unknown to the Grand Jury to devise, exaeutt and attempt to execute a _
schetie and attifice to defraud Todd judy Ford, Wells Fargo Dealer Services, Bert Wolfe Toyota,
BB&T. Bank, and. others (“the Automotive Pnitities”), to obtain money, and property by means of -
rfintertally false. and fraudulent: moieibes: “representations and promises and enised the
transmission of vast swiitiae and signals in interstate commerce for the sci of seetuiee

: stich scheme or é artifice in violation of Title 18, ‘United States Code, Section 1343... a

‘Manes and Mésins of Conspiracy and Scheme to  Defraud

6. Its was s part of the scheme 1 to defraud that defeditant TULIO ) HISAEL ALMONTE
and “0” would obtain from.an unknown source or sources means of identification belonging to

. individuals located ihfoughoit the United States s (colletively “the, ddeniaty theft victims”).

7 3 It was further part of the conspiracy and scheine to defraud that deiéndant JULIO
HISAEL ALMONTE and «Q” would create or ‘obtai false identification doshas containing
. the identity theft victims’ means s of identification and bearing a picture of “O”.

8. It was further part of the conspiracy and scheme to detiand that defendant JULIO
HISAEL ALMONTE and “O” would travel from New York and elsewhere to Charleston,
Kanawha County, West Virginia, and “O” would visit car dealerships in Charleston, pose as an
identity theft victim, apply for and obtain financing to purchase new trucks using the identity theft

victim’s means of identification, and purchase new trucks.
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9, In furtherance of the conspiracy, and to effect the objects thereof, defendant JULIO
HISAEL ALMONTE and “O” committed the following overt acts in the Southern District of West
Virginia and elsewhere:

A. At some date on or before June 28, 2018, defendant JULIO HISAEL
ALMONTE and “O” obtained means of identification of D.F., an Ohio resident,
and obtained a forged Ohio driver’s license containing DE’s information and
“O's ” photograph (the fraudulent D, F, Hecrise):
B.. ..On June 28, 2018, “O” used the fraudulent D.F. license and D.F.’s means. .
of jiicniitiention to sorhplets and: submit a credit application: ‘obtain:a “total of
$76,196.76 in credit, and purchiase a truck from Todd Judy Ford in Charleston, West
Virginia eS ; ae
Cc. ae or adit June 28, 2018, defendant JULIO HISABL ALMONTE seit.
. HO? text messages, using g WhatsApp, containing. DF? Ss means of identification.
. “Or sent JULIO fi ALMONTE. messages s updating him on tlie status of the
. purchase of the truck from Todd Judy Ford.
'D. At some date on or before Tune 29, 2018, ‘defendant JULIO HISAEL
ALMONTE and i obtained means of identifoation of A.F., an Ohio: resident,
and obidiied a forged Ohio driver’s license contaionig A.F.’s information and
“Q’s” photograph (“the fraudulent A. F, license”).
E. On June 29, 2018, “O” used the fraudulent A.F. license and A.F.’s means
of identification to complete and submit a credit application, obtain a total of
$42,375.03 in credit, and purchase a truck from Bert Wolfe Toyota in Charleston,

West Virginia.
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iF, On or about June 29, 2018, defendant JULIO HISAEL ALMONTE sent
“QO” text messages, using WhatsApp, containing A.F.’s means of identification.
“O” sent JULIO HISAEL ALMONTE messages updating him on the status of the
purchase of the truck from Bert Wolfe Toyota.

- Allin violation of Title 18, United States Code, Section 1349.
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COUNT TWO
(Wire Fraud)

10. Paragraphs 1 through 9 are incorporated by reference herein.

11. On or about June 28, 2018, at or near Charleston, Kanawha County, West Virginia,
and within the Southern District of West Virginia and elsewhere; defendant JULIO HISAEL
ALMONTE and “Q”, having devised and intended to devise the above-described scheme to
defraud, sui for the paras of executing and attempting to. execute the scheme to defraud, did
cause to be fidiigtiitied by means of wire communications in interstate conatacbed: certain yabiags,
signs, signals, pictures, and i sounds, to wit, an electronic credit application, sent via the internet,
containing D.F.’s means of identification to RouteOne to obtain $76, 196. 16: in purchase cet for
_ a Ford F150 Raptor truck, sent from Todd. Judy Ford i in Charleston, Kanawha County, West
Virginia, to.RouteOne’s server in 1 Plano, Texas.

~ Allin ioléion of Title 18, United States Code, Section 1343.
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COUNT THREE
(Wire Fraud)

12. Paragraphs 1 through 9 are incorporated by reference herein.

13. On or about June 29, 2018, at or near Charleston, Kanawha County, West Virginia,
within the Southern District of West Virginia and elsewhere, defendant JULIO HISAEL
ALMONTE ‘and “0”, having devised and intended to devise the above-described scheme to
defraud, iia for the purpose of executing and atiethpting to execute. the scheme to defraud, did
cause to be mensnaiHied by meaine of wire communications in interstate eorniierog certain writings, ~
signs, signals, pictures, and sounds, to wit, an electronic credit application, sent via the internet,
canteinide A.F.’s cheane & of identification to RouteOne to obtain $42, 375.03 in purchase credit fo for
dl Toyota Tacoma. tnt sent from Bert Wolfe Toyota in " Chatleston, Katawvha County, West
Virginia, to RouteOne’ s server in lanes Texas. :

Alli in violation of Title 18, United States Code, Section 1343,
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COUNT FOUR
(Attempted Transportation of Stolen Property in Interstate Commerce)

14. Paragraphs 1 through 9 are incorporated by reference herein.

15. On or about June 30, 2018, at or near Charleston, Kanawha County, West Virginia,
within the Southern District of West Virginia, and elsewhere, defendant JULIO HISAEL
ALMONTE, did unlawfully atten to transport, transmit, and transfer in interstate commerce
fom Charleston, Kanawha County, West Virginia, fo the State.of New Jersey, Shofist goods, wares,

ai distuhinhilies with a value of $5,000 or more; that is, a 2018 Ford F150 Raptor truck swith an
: sptowihale value of $67,25 0.00, belonging to Todd Judy Ford of Charleston, Kanawha County, .
West Virginia, knowing the ‘aite to have been stolen, converted, and taken by fraud,

In violation of Title 18, United States Code, Section 2314. if

LISA G. JOHNSTON. |
Acting United States Attorney

NOWLES H. HEINRICH
Assistant United States Attorney

 
